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 15   Attorneys for Plaintiffs
 16                           UNITED STATES DISTRICT COURT
 17                         CENTRAL^ g ODU(i7^A
 18
       Martin Gonzalez, Sr., Martin Gonzalez,     Case No.
 19    Jr. and Joseii Gonzalez, Martha
       Hernandez, Krystal Hernandez, Monique      CIVIL RIGHTS and RICO
 20    Paniagua, Jose Quinones, Jesse Castro,     COMPLAINT WITH INJUNCTIVE
       Marco Guillen, Jose Molina, Vanessa        AND STATE LAW CLAIMS
21
       Garcia, Shannon Board, Manual Herrera,
22    ^Humberto Herrera, Gerardina Herrera,       DEMAND FOR JURY TRIAL
       Freddie Barajas, Marvin Tejeda, Jesus
23     Jimenez, Eder Jimenez, Jordan Payan,
       and Henry Fuentes,
24
                     Plaintiffs/
25                                                                D nCKETED ON CM
26     vs.                                                             JUN - 5 200f
27     City of Maywood, Maywood-Cudahy                              JLdx--
       PoUce Department, Bruce Leflar, Paul                     _RY^ZV-i8L                         /
28     Pine, Daniel Martinez, Officers

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  1   Menchacca, Crniningham, Serrata,
 2    Nijland, Leach, Acevedo, Muriello,
      Serrata, Alvarez, Viscarra, Emil, Urbina
 3    and Does 1-30,
 4                    Defendants.
 5
  6                                     INTRODUCTION

  7          1. ThisisaRICO and civil rights action brought under 42 U.S.C. §§1983 and 1985
  8   and various related state laws by plaintiffs against the City of Maywood, the Maywood-
  9   Cudahy Pohee Department, and their en^loyees individually and in their official
 10   capacities, for injunctive relief and con^ensatoiy and punitive damages because of a
 11   continuing systematic abuse of authority, including but not limited to unlawful searches
 12
      and seizures dfperson and property; wrongful detentions and arrests, false in^risonments,
 13
      mahcious pfosecutions, cover ups, false report writing, use of excessive and unnecessary
 14
      force, sexual assaults and other acts of lawlessness.
 15
                                         JURISDICTION
 16
 17          2. Jurisdiction is conferred upon this Court by 28 U.S.C. §§1331 and 1343, and

 18   arises under 18 U.S.C. § 1961, and 42 U.S.C. §§1983 and 1985.
 19          3. The acts and/or omissions complained of occurred in the Central District of
 20   California, and in the Western Division, and therefore venue lies in this District pursuant
 21   to 28 U.S.C. 1391 and in the Western Division pursuant to general orders of this Court.
 22
             4. Plaintiffs were victims of City of Maywood ett^loyees acting under color of
 23
      law and within the scope of their authority and pursuant to the pohcies and practices of
 24
      the entities.
 25
                                          DEFENDANTS
 26
 27          5. At all times herein mentioned defendants City of Maywood, the Maywood-

 28   Cudahy PoUce Department, and Does 1 through 5, were and are pubhc entities duly
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 1   organized and existing as such under the laws of and within the State of California under
 2   the laws of the United States and the laws of the State of California.
 3         6. At all tiines herein mentioned defendants Bruce Leflar, Paul Pine, and Does
 4
     were and/or are pohce supervisors and/or pohcymakers for the City of Maywood, the
 5
     Maywood-Cudahy Pohce Department and Does 6 through 15, and in such capacity
 6
     were/are managers and/or chief administrators and/or pohcy makers. The named entities,
 7
     supervisors and Does are responsible for, among other things, the enployment, discharge,
 8
     training, supervision, control, assignment and discipline ofall sworn and civihan personnel
 9
10   oftheir entities and the formulation, promulgation, adoption, apphcation, implementation,

11   administration, enforcement and revocation of the policies and practices of the named
12   entities and Does.
13         7. The actions of named and Doe supervisors were committed while enployed by
14   the entities and represent the customs, practices and policies of the entities. The acts
15
     herein described and conplained ofwere committed and done pursuant to pohcies, rules,
16
     regulations, practices, customs, and/or usages [hereinafter "pohcies and practices"] ofthe
17
     entities and were created and enforced by the managers and/or supervisors and/or pohcy
18
     makers.
19
20         8. Plaintiffs are informed and beheve and based thereon ahege the defendants

21   Maywood-Cudahy Cadet Daniel Martinez, Maywood-Cudahy Officers Menchacca,
22   Cunningham, Serrata, Nijland, Leach, Acevedo, Murieho, Alvarez, Viscarra, Urbina,
23   Emil and Does are individual officers enployed by Maywood-Cudahy Pohce Department
24   at the times of the acts herein conplained of
25
           9. The true names and capacities of defendants Does 1-30 are presently unknown
26
     to plaintiffs; who therefore sue each of these defendants by such fictitious names; but
27
     upon ascertaining the tme identity and/or hability of a defendant Doe, plaintiffs whl
28

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  1   amend this Cbnplaint or seek leave to do so by inserting the true name in heu of the
 2    fictitious name. Plaintiffs are each informed and believe and based thereon allege that
  3   each defendant Doe herein is in some manner responsible for the injuries and damages
 4
      herein complained of
  5
                                         INCORPORATION
  6
               10. Paragraphs 1-9 above are hereby repeated, realleged and incorporated by this
  7
      reference in each cause of action.
  8
  9
                                                FACTS

 10                              The Maywood Police Department
 11            11. Plaintiffs are informed and believe and thereon allege that the Maywood-
 12   Cudahy Police Department has for years been a renegade, largely out-of-control "gang"
 13   that routinely tramples the rights of those unfortunates who come under its oppressive
 14   thumb.
 15
               12. Plaintiffs are informed and believe and thereon allege that the defendants
 16
      preyed especially upon recent immigrants because defendants knew that recent immigrants
 17
      were easy victims, afraid to exercise their rights, and readily subject to retaliation if they
 18
      atten^ted to exercise their rights.
 19
20             13. Plaintiffs are informed and believe and thereon allege that the violations of
                     li



21    individuals’ rights by Maywood-Cudahy officers occurred not because of a few "bad
22    apples" but is instead the result of a culture of lawlessness permeating the entities and
23    constituting and/or proximately caused by their routine practices.
24             14. Plaintiffs are informed and believe and thereon allege, based in part upon
25
      reports in the April 1, 2007,Los Angeles Times, that the Maywood-Cudahy police
26
      department has become
27
            a haven for ttiisfit cops who have been pushed out of other law enforcement
28

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 1        agencies for crimes or serious misconduct. Among those on the job: A
 2        former Los Angeles County sheriffs deputy terminated for abusing jail
 3        inmates; a onetime Los Angeles Police Department officer fired for
 4
          intimidating a witness; and an ex-Huntington Park officer charged with
 5
          negligently shooting a handgun and driving drunk. Other officers were hired
 6
          by Maywood after flunking out of training programs elsewhere....
 7
 8
          In all, at least a third of the officers on the force have either left other police
 9
10        jobs under a cloud or have had brushes with the law while working for
11        Maywood. Several officers in recent years have left Maywood after being
12        convicted of crimes. Even the newly appointed pohce chiefhas a checkered
13        past: He was convicted of beating his girlfi-iend and resigned from the El
14        Monte Pohce Department before he could be fired. ...
15
16
          The brewing scandal has included accusations that pohce and city leaders
17
          were on the take from the owner of a local tow conpany; that a longtime
18
          officer was extorting sex from relatives of a criminal fugitive; that a pohce
19
20        officer tried to run over the president of the Maywood Pohce Commission

21        in the parking lot of City Hah; that an officer impregnated a teenage pohce
22        explorer; and that officers had covered up the tmth surrounding a fatal pohce
23        shooting that resulted in a $2.3-milhon legal settlement. The Los Angeles
24
          County district attorney, the California attorney general and the Federal
25
          Bureau of Investigation have active probes into the Maywood department.
26
27
28
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                                            ♦;




  1         ... Maywood has been slow to adopt policing practices in place at bigger
 2          departments, which are aimed at ensuring professional conduct and
 3          increasmg public trust....
 4

 5
             [SJupervisors at the department don't always see the need for documenting
  6
            citizens' conplaints, a practice mandated at other agencies....
 7
  8
  9         Officers are also permitted to carry a leather-encased, lead-filled hand

 10         weapon, known as a sap, which many agencies have outlawed because of
                      !1
                      ,t


 11         the brutal injuries they can inflict.
 12
 13         "Everything that could go wrong seems to have gone wrong at Maywood,"
 14         said lawyer Merrick Bobb, a law enforcement expert who has consulted with
 15
            the U. S. Department ofJustice onpohcing practices. "This department needs
                      j
 16
            to be put into receivership."
 17               .   !I
             15. Plaintiffe are informed and beheve and thereon alleged, based in part upon
 18
      allegations contained in a Superior Court complaint filed by Maywood-Cudahy Officer
 19
20 Pablo Cunningham, one of the named defendants in this action, that supervisors required
21 officers to “engage in racial profiling and quotas/’ and that Ciuiningham was “threatened
22 by [ Pohce Chief Bruce] Leflar with loss of his job after he refused to engage in racial
23 profiling.”
24           16. Piaintiffs are informed and believe and thereon allege, based in part upon
25
      allegations contained in a Superior Court complaint filed by Cunningham, that the
26
      defendants covered up misconduct including excessive force, promoted a “code of
27
      silence,” hired people unfit to be officers (for in^roper reasons, ineluditig but not limited
28
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                                                                                           *'



  1   to their connections to other City ofiBcials), extorted people for sex, and took kickbacks.
  2   According to Cunningham’s Superior Court complaint:
  3         The [final pohce] report by Maywood left out vital information that
 4
            Cunningham had put into his report. Specifically, there was a woman who
  5
            witnessed the actions of the police officers, beating and then shooting the
  6
            suspect. Cunningham included that information and her opinion that the
  7
            pohce did not need to engage in that type of force. The pohce department
  8
  9
            concealed this information as part of a “code of silence” and to deprive the

 10         victim’ s family of all of the mformation concerning the defendants’ use of
 11         excessive force... .
 12
 13         This alteration of pohce reports is part of pattern and practice of Maywood
14          Pohce Ipepartment under Chief Leflar to aUow alteration of reports....
 15
 16
            Leflar also hired an officer Garcia fi-om Huntington Park Pohce Department,
 17
            after the Officer was arrested and plead to four misdemeanors involving
 18
            alcohol and firearms, including shooting from his car. Garcia was fiiend of
 19
20          councilman Lara’s.. ..

21
22          In 2005, Cunningham observed Councilman Louis Lara strike a boy who
23          was a prowler in the Councilman’s yard. The boy man had been arrested
24          and was in the pohce car. Lara opened the door of the pohce car and
25
            punched the boy twice in the face, causing him to bleed. The boy was
26
            approximately 14 or 15 years old and was in handcuffs when Lara engaged
27
            in this cowardly act. Sergeant Richardson was on scene at the time that Lara
28

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  1         Struck the boy. Richardson claimed that he spoke with Chief Bruce Lefler,
  2         but no other known action was taken.
  3
 4
            ... Lt. Pine was hving in the city in an apartment owned by the owner ofthe
 5
            tow yard. Plaintiff was vocal about Officers taking kick-backs (free cars,
  6
            cash, free trips to Las Vegas etc.) from the tow yard owner in exchange for
  7
            vehicle in^ounds. ... Pine accused plaintiff... in retaliation for plaintiff’s
  8
  9
            whistleblower activities... .

 10               Cunningham also reported in 2005 sexual misconduct by Officer
 11         Mesa and Sergeant Leach. Leach was accused by members of the public of
 12         extorting sex from a transsexual, in return for letting her fugitive brother in
 13         and out of the country. This was discovered during a pursuit of Sergio
 14         Castro. The fether of Sergio Castro conplained that Leach broke his word
 15
            of allowing Sergio into the Coimtry in exchange for sex with the transvestite
 16
            or transsexual son, Eduardo Castro (aka Lariz).
 17
            17. Plaintiffs are informed and believe and thereon allege that official public
 18
      records document that Pine resided in an apartment owned by the proprietors of the tow
 19
20    yard. Plaintiffs are informed and believe that the tow yard is Maywood Club Tow.

21          18. Plaintiffs are informed and beheve that Pine was permitted to hve in the
22    apartment as a quid pro quo for Pine’s assistance in causing the towing, in^oundment,
23    and sale of vehicles, for the illicit gain of Pine, the City of Maywood, the Maywood-
24    Cudahy Pohce Department, and others.
25
            19. Plaintiffs are informed and beheve and thereon aUege that Maywood Club Tow
26
      and/or its owners gave money and/or things of value to defendants as a quid pro quo for
27
      the assistance and cooperation of defendants in causing the towing, inq)oundment, and
28

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  1   sale of vehicles.
  2          20. Plaintiifs are informed and believe that the Cities of Maywood and Cudahy and
  3   the Maywood-Cudahy Police Department did a land-office business with Maywood Club
  4
      Tow, towing, in^ounding, confiscating, and selling vehicles, and reaping huge profits in
  5
      doing so, and that Pine and other defendants were personally involved in this illicit,
  6
      fraudulent and criminal practice, including the conduct of supposed hearings to determine
  7
      whether vehicles should be returned to their owners. The involvement of defendants
  8
      including Pine in the hearings made them unfair and deprived vehicle owners of due
  9
 10   process of law. Plaintiffs are informed and believe and thereon allege that existence of

 11   graft and corruption, and the knowledge ofthe graft and cormption, within the Maywood-
 12   Cudahy Police Department and the City of Maywood, including but not limited to the
 13   ilUcit, fraudulent and criminal scheme to tow, impound and sell vehicles, has made it
 14   difficult and/or in5)ossible for any supervisor to exercise meaningfiil supervision and/or
 15
      to discipline Officers who abused people and violated the law, for fear that officers would
 16
      blow the whistle on the corruption and nepotism including but not limited to the vehicle
 17
      towing scheme, if any meaningful discipline were threatened or imposed.
 18
             21. Plaintiffs are informed and believe that the absence of meaningful supervision
 19
 20   and discipline was a proximate cause the constitutional violation against Plaintiffs.

 21          22. Plaintiffs are informed and believe that the governing officials of the City of
 22   Maywood received money and/or things of value from Maywood City Tow and/or its
 23   owners, as a'quid pro quo for, among other things, starting, continuing, inplementing
 24   and/or protecting defendants’ illicit vehicle towing scheme.
 25
             23. Plaintiffs are informed and beheve and thereon allege that the Maywood-
 26
      Cudahy Pohce Department does not have adequate procedures to supervise and/or
 27
      discipline its ^nployees, including but not limited to the following:
 28

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  1                 a. Inadequate reporting requirements, including but not limited to inadequate
  2         use-of-force reporting;
  3                b. Inadequate procedures for documenting and investigating citizens’
  4
            conplaints, includiug but not limited to refusing to accept citizens’ conplaints,
  5
            failing adequately to documents Citizens’ con^laints, failing to investigate citizens’
  6
            complaints, and failing to respond to court orders requiring defendants to disclose
  7
             citizens’ cottplaints.
  8
            24. Failures by all the supervisor, manager and policy-making defendants to
  9
 10   provide oversight over the Maywood-Cudahy pohce, to make them follow the
 11   requirements ofthe Constitution, aaid/or to stop officers frommaking false charges against
 12   innocent persons and lymg to support false charges, among other things, make those
 13   defendants liable to plaintiffs.
 14          25. Plaintiffs are informed and beUeve that all the injunctive rehefprayed for in this
 15
      conplaint is necessary to stop the wide-scale violation peoples’ rights by defendants.
 16
                                               Plaintiffs
 17
            Pablo Camarillo - May 28, 2005
 18
             26. On May 28,2005 Pablo Camarillo was wrongly detained, arrested, assaulted,
 19
 20   battered, threatened, searched, had false reports written against him for the purpose of
                    I

 21   malicious prosecution as condoned by the pohcy of "hurt a man, charge a man," and
 22   suffered unlawful entry into his home at 4737 East 57‘*' Street, Maywood, by Cunningham
 23   and other unknown pohce officers who struck his head with flashhghts and/or guns,
 24   kicked and/or punched him in the rib cage, threw him against his car on his property, with
                    I


 25
      an officer, who described himself a$ a field supervisor, watching. Cunningham struck
 26
      Pablo Camariho in the face breaking his nose while he was handcuffed Sitting in the patrol
 27
      car. Mr. Camariho’s father and girlfriend witnessed this. Cunningham destroyed Mr.
 28

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  1   Camarillo’s stereo equipment and swore at him constantly, referring to Mr. Camarillo as
  2   a “wetback.” Mr. Camarillo was taken to the hospital on the recommendation of the
  3   paramedics who determined he needed hospital care. Cunningham came to Camarillo’s
  4
      home the next day. Officers West, Florez and Vizcarra were participants in the above
  5
      conduct. Mr: Camarillo made a complaint about the incident and was never notified of
  6                ■




      the outcome. Mr. Camarillo was required to post $5,000 bail.
  7
            The Herreras - July 30, 2005
  8
  9
            27. On approximately July 30,2005 plaintiffs Manual Herrera, Humberto Herrera

 10   and Gerardina Herrera were wrongfully detained, arrested, searched, assaulted, battered,
 11   had false reports written against them for the purpose of malicious prosecution as
 12   condoned by the policy of "hurt a man, charge a man," and suffered unlawful entry into
 13   their home at 4615 East 58* Street in Maywood, by Detective Serrata and other unknown
 14   Maywood-Cudahy police officers. Martian Herrera told plaintiffe that someone was in the
 15
      yard with a gun, maybe police. Detective Serrata was in plaintiffs’ yard in plain clothes
 16
      pointing a gun at plaintiffs. He did not identify himself as a police officer. As Serrata
 17
      backed out of the yard and shut the gate he pointed his gun at plaintiffs. More pohce
 18
      arrived. Serrata reentered plaintiffs’ yard. Serrata and other unknown Maywood-Cudahy
 19
 20   police officers threw Manual and Humberto to the ground, handcuffed them, used abusive

 21   language, told them to shut up when they asked why this was happening, struck them
 22   while handcuffed, threw Manual against the police car when recognized by Serrata as
 23   someone Serrata had ticketed a few weeks before. Serrata and 5 to 8 other unknown
 24   officers unlawfully entered plaintiffs’ home. Gerardina Herrera was screaming for police
 25
      to stop hurting her son and husband. Police pointed guns at plaintiffs. Gerardina Herrera
 26
      was thrown onto her couch by police, handcuffed and told to shut up. Humberto was
 27
      humiliated in front of his neighbors when Serrata and other unknown police officers
 28

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  1   walked Humberto around the neighborhood in his underwear. Manual and Humberto
  2   Herrera were acquitted on felony charges falsely made by Serrata and other pohce officers
  3
      after having to post bail of $25,000.00.
  4
            The Gonzalez Family - July 2, 2006
  5
            28. On July 2,2006 plaintiffs Martin Gonzalez, Sr., Martin Gonzalez, Jr. and Jose
  6
      Gonzalez were wrongfully detained, arrested, assaulted, battered, threatened, searched,
  7

  8
      written up in false reports for the purpose of maUcious prosecution as condoned by the

  9   poUcy of "hurt a man, charge a man" and suffered unlawful entry into their home at 3818
 10   Vi 58'’’ Street, in Maywood, California by Maywood-Cudahy police cadet Daniel
 11   Martinez, Maywood-Cudahy pohce officer Menchacca and other unknown Maywood-
 12   Cudahy pohce officers. The assaults on these plaintiffs included pointing of firearms at
 13   them, tasers used on Martin Gonzalez, Jr., punches to ah parts of his body including the
 14
      head while handcuffed, tackled to the ground, and hogtied. Martin Gonzalez Jr. was
 15
      wrongfliUy iiibarcerated for four days and denied adequate medical care.
 16
            Hernandez, Paniagua & Quinones - September 2, 2006
 17
            29. On September 2,2006 plaintiffs Martha Hernandez, Krystal Hernandez, Jose
 18

 19   Quinones and Monique Paniagua were wrongfiiUy detained, arrested, assaulted, battered,

 20   threatened, searched, written up in false reports for the purpose of mahcious prosecution
 21   as condoned by the pohcy of "hurt a man, charge a man" and suffered unlawful entry into
 22   their home at 5113 East bO'** Street, Maywood, California by Officers Cunningham and
 23   Serrata and other unknown officers. 14-year-old Krystal Hernandez was sexually molested
 24
      and fondled in fi'ont of her mother Martha Hernandez, by Cunningham and Serrata and
 25
      other unknown officers. The assaults on these plaintifife included the drawing and pointing
 26
      of firearms at them, painfully tight handcuffing, choking, and beating on the ground. Ms.
 27
      Paniagua was thrown into the back of the police car. Jose Quinones was denied adequate
 28

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  1   medical care for his injuries suffered from repeatedly being kneed in the genitals.
  2         Jose Molina - September 4, 2006
  3
            30. On September 4,2006 in the City ofCudahy, California at 5106 1/4 Live Oak
  4
      Street Jose Molina was wrongfully detained, arrested, assaulted, battered, threatened,
  5
      written up in false reports for the purpose of mahcious prosecution as condoned by the
  6
      pohcy of "hurt a man, charge a man’ and searched by Officers Cunningham, Menchaca,
  7

  8
      Sgt. Nijland and other unknown officers in Maywood-Cudahy Pohce uniforms. The force

  9   used upon Mr. Molina included being thrown to the ground, having his free dragged on

 10   the ground, being stmek in the face and fibs while his anns were held down, while falsely
                   !■




 11   being accused of being in a gang. Supervising Sgt. Nijland was present for and observed
 12   and/or participated in the above-described conduct.
 13
            Barajas, Tejeda, Jimenez, & Payan - January 5, 2007
 14
            31. On January 5, 2007 Freddie Barajas, Jesus Jimenez, Marvin Tejeda, Eder
 15
      Jimenez and Jordan Payan were at 3551 East 53^“^ Street in Maywood, and were wrongly
 16
      detained, arrested, assaulted, battered, threatened, searched, had false reports written
 17
      against them for the purpose of mahcious prosecution as condoned by the pohcy of "hurt
 18

 19   a man, charge a man," and suffered unlawful entry into their home by Maywood-Cudahy

 20   pohce officer Alvarez and other unknown pohce officers numbering between five and
 21   eight, Eder Jimenez obviously suffers from Downs Syndrome and was particularly
 22   traumatized by the pohce. Tickets were written for obstructing the sidewalk when none
 23   of these plaintiffs were on the sidewalk until pohce ordered them there. The pohce
 24
      screamed at these plaintiffs, forced them to the ground, and falsely accused them of
 25
      having weapons, drugs and being gang members.
 26
            Jesse Castro and Marco Guillen - January 21, 2007
 27
             32. On January 21, 2007 near intersection of 52"*^ Street and Loma Vista in
 28

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  1   Maywood, California Jesse Castro and Marco Guillen were wrongfully detained,
  2   assaulted, battered, threatened,              searched, and suffered unlawful entry into their
  3   automobile by seven or eight unknown officers in Maywood-Cud^y Police uniforais.
  4   The force usdd upon these plaintiffs included using a flashlight and/or baton to strike the
  5
      window of the              they were in, drawing and pointing of firearms at them, being dragged
  6
      out of the car^ kicked, threatened with deaths followed by a Maywood police vehicle and
  7
      two refusals by Maywood Police Department desk officers to take a written complaint
  8
                    i:   .        ,

  9   about the incident.
 10          Vanessa Garcia & Shannon Board - February 5, 2007
 11         33. On February 5,2007, at 4351 East 55*’' Street, Maywood, Vanessa Garcia and
 12   Shannon Board were wrongfully harassed, detained, arrested, assaulted, battered,
 13   threatened wiith malicious prosecution, searched and sexually assaulted by Officer
 14   Muriello who; threatened to plant dmgs on them and take them to jail if they continued to
 15
      voice conplalnts to him. Officer Muriello called Ms. Garcia on her telephone later that
 16
      day and told her he wanted to have sex with her and that he was coming over with beer.
 17                 i;
      He said she had to participate or he would take her to jail. Officer Muriello drove by Ms.
 18
      Garcia’s honie 2-3 times a day after that and repeatedly told thetti he would take her and
 19
                   ’'t       ■         ■



 20 Ms. Board to jail. Subsequently Muriello did bring beer to Ms. Garcia’s home and groped
 21 Ms. Board’s breast and grabbedMs. Garcia’s crotch when they stood near his police car.
                    il ...                   '. .
 22   The next day sMuriello stopped Ms. Garcia, had her place her hands behind her back and
 23   put his hand down her pants touching her buttocks and her vagina. Ms. Board witnessed
 24   this from inside. The next day Muriello came to Ms. Garcia’s home in plain clothes,
                    il

 25
      followed Msl Garcia into her apartment, tried to get her and her Son to come into the
 26
      bedroorn, kissed her against her will and left with a smirk on his face. The next day,
 27
      February 14, 2007 Muriello called Ms. Garcia several times at home. On February 15,
 28

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  1   2007 Muriellp eame into Ms. Garcia’s apartment again, kissed her against her will and
  2   left when a Iftiend pulled into her driveway. After that Muriello called Ms. Garcia and
  3   Ms. Board arid told them he wanted to have sex with thetti at the same time. Both women
  4   left Maywood for several weeks for fear oftheir safety as a result of Muriello’s conduct.
  5
      On March 7,:; 2007 Muriello encountered Ms. Garcia and Ms. Board who by then had
  6
      returned to Maywood and repeated his threats and desires to them. They were never
  7
      taken to jail Or charged but hve in fear of Officer Muriello.
  8
  9
            Henry Fuentes - March 28, 2007

 10         34. On March 28, 2007 in front of his home on 58‘^ Street, Maywood, Henry

 11   Fuentes was wongfiilly detained, assaulted, battered, threatened, and written up in false
                   i
 12   reports for the purpose ofmalicious prosecution as condoned by the pohcy of "hurt a man,
 13   charge a manf by Officer Urbina The entire incident was witnessed by Mr. Fuentes five
 14   small children, aged four up to twelye. The children were very frightened and cried during
 15
      the incident. On that day. Officer Urbina’s vehicle was blocking Mr. Fuentes driveway.
 16
    Mr. Fuentes atsked Officer Urbina to move it because there were no parking spaces on the
 17               i
    street and he had his five children in the car. Urbina refused. Mr. Fuentes then drove up
 18
      his neighbor’s driveway and across his own grass into his own driveway and parked.
 19
 20
      Urbina Walked Up to Mr. Fuentes, forcefully twisted his arm behind his back and threw

 21   him against the police car. Urbina then handcuffed Mr. Fuentes and placed him in the
                   |!
 22 poUce car for about one hour. After that, Mr. Fuentes gave Officer Urbina his driver’s
 23 license upon request. Urbina asked Mr. Fuentes if he would rather have a ticket or go to
 24 jail. Mr. Fuentes opted for the ticket and received one for “driving on the sidewalk.”
 25
      Officer Urbina then told Mr, Fuentes to go inside Ms house or Urbina would arrest him
 26
      Mr. Fuentes later sought medical treatment at a clinic for the injury to his arm.
 27
            35. Defendants’ wrongful conduct included but is not limited to fraud, fraud by
 28
                   '1 X


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  1   wire, obstruction of justice, kidnaping and bribery.
  2         36. Plaintiffs are informed and believe there are numerous other simile victims of
  3 defendants’ wrongful acts who are afraid to seek, and/or unable to seek redress because
  4
      oftheir reasonable fears ofretaUatioii, and/or because they are recent immigrants who are
  5
      reasonably concerned about the lawfulness oftheir status, and/or because they are unable
  6
      to find representation.
  7
            37. Plaintiffs conphed with the provisions of the California Tort Claims Act.
  8
                                             DAMAGES
  9                 |i




 10          38. Ely reason of the aforementioned acts of defendants, and each of them,
 11   plaintiffs werfe injured in their health, strength and activity, sustained great mental pain,
 12 suffering and shock to their nervous systems, torment, anxiety, anguish, humihation and
 13   severe emotional distress, all to their damage in an amount according to proof at trial. As
 14 a proximate result of the foregoing wrongful acts of defendants, and each of them,
 15
    property belonging to plaintiffs was damaged and destroyed in an amount according to
 16
    proof.
 17
           39. By reason of the aforementioned acts of defendants and each ofthem, plaintiffs
 18
    were and/or will in the future be required to receive hospital, medical, doctor, nursing,
 19
 20 dental and psychological care and treatment, and by reason thereof, will incur expenses
                   ji

 21   related thereto in an amount according to proof at trial.
 22          40. By reason of the aforementioned defendants and each of them, plaintifife were
 23   injured in their businesses and/or property, including but not limited to being unable to
 24
      work, and sustained and will in the future be injured in their businesses and/or property
 25
      by sustaining a loss and impairment of earnings and earning capacity, in an amount
 26
      according to proof at trial.
 27
             41. Defendants acts were done and committed by each individual defendant
 28

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  1   knowingly^ deliberately and maliciously with the intent to oppress, injure and harass
  2   plaintiflfe [with the exception of the claims by plaintiff based on neghgence] and with
  3
      feckless indifference to civil fights, pefsonal secufity and safety Ofthese plamtiffs; and by
  4
      reason thereof, plaintiffs pray for punitive and exenplary damages from and against
  5
      individual defendants and each of them in an amount according to proof at trial.
  6
                                FIRST CAUSE OF ACTION
  7                                    42 U.S.C. §1962
                     [“RICO” - Violations of 42 U.S.C. §§ 1962 (C) and (D)]
  8
                                  (Against All Defendants)
  9

 10         42 . This cause of action is brought by all plaintiffs for treble damages for injury to
 11   their business or property including but not limited to lost employment and accrued
 12   interest resulting from the conduct alleged herein, which violates the provisions of 18
 13
      U.S.C. §§ 1961-1968 (hefeafter "RICO").
 14
             43. The following constitute ah enterprise within the meaning of RICO generally
 15
      and 18 U.S.C. § 1961(4) specifically:
 16
                    a. The Maywood-Cudahy PoUce Department;
 17
                    b. The City of Maywood;
 18

 19                 c. Maywood Club Towing Company;
 20                 d. The Association in Fact of defendants City of Maywood, Maywood-
 21          Cudahy Pohce Department, Maywood Club Towing COhpahy (“the AIF
 22          Enterprise”).
 23          44. Plaintiffs are informed and believe and thereon allege that each enterpri$e
 24
      alleged herein is an entity distinct from the pattern of racketeering activity alleged herein;
 25
      is or was an ongoing organization, formal or informal; and fimctions or functioned as a
 26
      continuing unit, to wit:
 27
                    a. The City of Maywood is a pubhc entity with a formal structure and
 28

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  1        capacity engaging in a wide range of activities, only part of which entails the
  2        pattern of racketeering activity alleged in this complaint. The defendants charged
  3
           withoperating it under 42 U.S.C. § 1962 (c) were animated by, among other things,
  4
           engaging in bribery.
  5
                 b. The Maywood-Cudahy Pohce Department is a subdivision of the City of
  6
           Maywood and City ofCudahy whose charge is enforcement ofthe laws ofthe State
  7
           of California and the Cities of Maywood and Cudahy, in which capacity it has a
  8

  9        fonnal structure and engages in a wide range ofactivities, only part ofwhich entails

 10        the pattern of racketeering activity alleged in this con^laint. The defendants
 11        charge|d with operating it under 42 U.S.C. § 1962 (c) were animated by, among
                 i'
 12        Other things, bribery, extortion, and kidnaping.
                 i'
 13              I'   •
                 c. Maywood Club Towing Company is a formally organized business entity
 14
           engaged in the business of towing and inpounding vehicles under a variety Of
 15
           circumstances, only part ofwhich entails the pattern ofracketeering activity alleged
 16
           in this complaint. The defendants charged with operating it under 42 U. S.C. § 1962
 17
           (c) were animated by, among other things, the common purpose of unlawfully
 18

 19        inpoimding vehicles in order to collect and receive the illegal charges resulting
 20        from the inpound, and implemented the illegal scheme by mail fraud and bribery.
 21              d. The AIF Enterprise had an ascertainable structure, comprised of the
 22        Maywood-Cudahy Police Department, Maywood Club Towing Conpany, and the
 23        key individuals who directed the enterprise’s unlawful activities which included but
 24
           are not limited to Pine and Does. This structure was distinct from the pattern of
 25
           racketeering activity in that the enterprise’ s activities enconpassed both lawful and
 26
           unlawfiil activities. The AIF Enterprise’s associates were animated by common
 27
           purposes, including to unlawfully and fraudulently inpound vehicles in order to
 28

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  1         collect and receive the illegal charges resulting from the impound and receive
  2         kickbacks. The AIF Enterprise functioned as a continuing unit with continuity in
  3         both structiu-e and personnel.
                   j
  4
            45. The activities ofthe enterprises affect interstate commerce in numerous ways,
  5
      including but not limited to: 1) the use of interstate mail and telephone; 2) the purchase
  6
      of materials for use in the enterprises which materials were m the stream of interstate
  7                ii

      commerce; 3) the provision of federal funds to the Maywood-Cudahy Pohce Department,
  8
  9
      received through the stream ofinterstate commerce; 4) oversight by federal governmental

 10   entities ofvarious ofthe activities ofthe Maywood-Cudahy Police Department and/or the
 11   City of Maywood, involving interstate travel and the expenditure of funds through the
 12   stream of interstate commerce; 5) the interstate travel of various of the owners of
 13   impounded vehicles to retrieve their urpOunded vehicles or atten^t to do so; 6) the travel,
 14   paid from proceeds of the pattern of racketeering activity alleged herein, of members of
 15
      the Maywood-Cudahy Pohce Department from California to Las Vegas; 7) the purchase
 16
      of tow trucks, and gasoline and equipment for said trucks, used in furtherance of the
                    I!
 17
      pattern of racketeering activity alleged herein that reached the purchasers through the
 18
      stream of interstate commerce.
 19
 20                             SECOND CAUSE OF ACTION
                          (Violation of Civil Rights - 42 U.S.C. § 1983)
 21                            Monell and Supervisorial Liability
 22         46. Plaintiffs are informed and beheve and thereon allege that at all times herein
 23   mentioned, above named defendants with dehberate indifference, gross neghgence and/or
 24   reckless disregard for the safety, security and constitutional and statutory rights of
 25
      plaintiffe maintained, enforced, tolerated, permitted, acquiesced in, and/or apphed inter
 26
      alia policies and practices which included directing and controlling the unlawful acts
 27
      conplained of herein.
 28

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  1         47. Said defendants and each of them, acting imder color of state law, have
  2   deprived plaintiffs of rights, privileges, and immunities secured by the Constitution and
  3   laws of the United States, in particular by the First, Fourth, Fourteenth Amendments to
  4   the United States Constitution by mreru/zu maintainmg, enforcing, tolerating, permitting,
  5
      acquiescing and, and/or applying the pohcies and practices set forth above. As a direct
  6
      and proximate result of those pohcies and practices, plaintiffs have sustained injury and
  7
      damage as described herein.
  8
            48. Plaintiffs are informed and beheve and thereon allege that the supervisorial
  9
 10   defendants ordered, authorized, acquiesced in, tolerated, or permitted other defendants
 11   herein to engage in the unlawfiil and unconstitutional actions, pohcies, and practices set
 12   forth above. Defendants' conduct aheged herein constitutes a pattern of ihicit law
 13   enforcement behavior, and statutory and constitutional violations based either on a
 14   dehberate plan by defendants or on defendants' dehberate indifference, gross neghgence,
 15
      or reckless disregard for the safety, security and constitutional and statutory rights of
 16
      plaintiffs which violations include:
 17
                   a. Stopping, detaining, and/or arresting people and/or entering homes,
 18
            and/or searching and/Or seizing property and people, without required warrants,
 19
 20         reasonable suspicion and/or probable cause;

 21                b. Using unreasonable and/or excessive force;
 22                c. Ahowing and/or encouraging en^loyees to brutalize, hurt and/or injure
 23         members of the pubhc, by failing to require effective use-of-force training,
 24         supervision, discipline and reporting, including but not limited to not requiring
 25
            enployees to report uses of force, by permitting and/or encouraging false and/or
 26
            misleading and/or incomplete reporting, and/or by failing adequately to monitor
 27
            enployee uses of force;
 28

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  1              d. Condoning, tolerating and/or acquiescing in officers' engaging in racist
  2        conduct and/or racially motivated attacks on minority members of the community,
  3
           and/or j using racist speech when speaking with minorities and/or denigrating the
  4
           race arid/or nationality of minority members of the community;
  5
                 e. Condoning, tolerating and/or acquiescing in officers' sexually abusing
  6
           members of the community, including minors;
  7

  8
                  f   Failing adequately to investigate incidents involving the use of

  9        unreasonable force and/or other misconduct;
 10               g. Conducting investigations in such a manner as to conceal misconduct,
 11        including but not limited to using investigative techniques and procedures known
 12        to have that effect;
 13               h. Condoning and encouraging the fabrication of evidence including but not
 14
           limited to the filing of materially false police reports;
 15
                  i. Condoning and encouraging a "code of silence," which keeps and/or
 16
           dissuades law-abiding enployees fromreporting the misdeeds of fellow enqiloyees;
 17               1




 18
                 j. Condoning and encouraging officers in the belief that their failure or

 19        refusal to participate in the "code of silence" or to cover up or conceal the
 20        misconduct ofother officers will cause them to be ostracized by other officers, will
 21        adversely affect their abihty to get support fi:om other officers in life-threatening
 22        situations in the field and will adversely affect their opportunities for promotion and
 23        other enq)loyment benefits;
 24
                  k. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
 25
           and/or other wrongful and/Or illicit condensation, which has the effect of making
 26
           supervisors within the department vulnerable to accusations of misconduct and
 27
           unable and/or unwilling to effectively supervise and/or discipline subordinates.
 28

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  1          49. Defendants and each of them, acting under color of state law, have deprived
  2   plaintiffe ofrights, privileges, and immunities secured by the Constitution and laws ofthe
  3
      United States, in particular by the First, Fourth, and Fourteenth Amendments to the United
  4
      States Constitution by inter alia maintaining, enforcing, tolerating, permitting, acquiescing
  5
      and, and/or applying the policies and practices set forth above. As a direct and proximate
  6
      result of those policies and practices, plaintiff has sustained injury and daniage as
  7

  8
      described hereinafter.

  9          50. Plaintiffs are informed and beheve and thereon allege that defendant entities

 10   and supervisorial defendants ordered, authorized, acquiesced in, tolerated, or permitted
 11   other defendants herein to engage in the unlawful and imconstitutional actions, pohcies,
 12   and practices set forth above. Defendants' conduct alleged herein constitutes a pattern of
 13   intimidation, picit law enforcement behavior, and statutory and constitutional violations
 14
      based either on a dehberate plan by defendants or on defendants' dehberate indifference,
 15
      gross neghgence, or reckless disregard for the safety, security and constitutional and
 16
      statutory rights of plaintiffs.
 17
                                    THIRD CAUSE OF ACTION
 18                         (Violation of Civil Rights - 42 U.S.C. § 1983)
 19                         Against All Individually Named Defendants
 20          51. Defendants and each of them, acting under color of state law, did without
 21   probable cause and by use of excessive force unlawfully detain, arrest, batter, search,
 22   molest and write false reports about plaintiffs, and did do all of the above in a
 23   conspiratorial manner for the purpose of illegally obtaining criminal conviction(s) against
 24
      plaintiffs and to conceal their own wrongdoing and did also do so to intimidate plaintifife’
 25
      witness(es) in said criminal prosecutions for the same improper purposes, all of which
 26
      were intended with dehberate indifference of and reckless disregard for plaintiffs’
 27
      constitutional rights under the First, Fourth and Fourteenth Amendments to the United
 28

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  1   States Constitution. As a direct and projdmate result of defendants' acts, plaintiffs
  2   sustained injury and damage as set forth herein.
  3                             FOURTH CAUSE OF ACTION
  4
                                (Violation of 42 U.S.C. §1985(2))
                           Against All Individually Named Defendants
  5
            52. Defendants, and two or more ofthem, in the State of California, County ofLos
  6
      Angeles, an4 City of Maywood-Cudahy, by reason of Defendants' animus against
  7
      minorities, including plaintiffs’ Latino heritage and invidious animus, conspired together
  8
  9
      to act and to fail and omit to act as hereinbefore alleged, for the purpose of (I) inpeding,

 10   hindering, obstructing, and defeating the due course ofjustice in the State of California
 11   and County of Los Angeles, (ii) to deny plaintiffs their right to free speech, (iv) to deny
 12   equal protection ofthe laws to plaintiffs and (v) to subject plaintiffs’ persons and property
 13   to unlawful search and seizure thereby depriving plaintiffe of immunities secured by the
 14   Constitution and the laws of the United States, including the First, Fourth and Fourteenth
 15
      Amendments to the Unites States Constitution, by, inter alia, ordering, authorizing,
 16
      maintaining, enforcing, tolerating, ratifying, permitting, acquiescing in, and/or applying
 17
      the pohcies and practices set forth hereinabove. Defendants' conspiracy was and is
 18
      motivated by animus directed against plaintiffs because of their race, color or national
 19
 20   origin, and/or by the race, color, or national origin of persons with whom they associated,

 21   and/or by other class-based, invidiously discriminatory animus directed against plaintiffs.
 22   In furtherance of the conspiracy one or more of the defendants committed One or more of
 23   the overt acts set forth hereinabove which did in fact deprive plaintiff of equal rights,
 24   privileges or unmunities.
 25
             53. Defendants, and each of them, purposefully, under color of law, planned and
 26
      conspired to deny plaintiffs’ equal protection of the laws in the following respects:
 27
                   a. to deny the right to be free from unreasonable search and seimre;
 28

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  1                b. to deny the right not to be deprived of life, property or liberty without due
  2         process of law;
  3                c. to deny the right of free speech;
  4
                   d. to be free from use of excessive force.
  5
            54. By virtue of the foregoing, defendants, and each of thefti, violated 42 U.S.C.
  6
      §1985(2).
  7
            55. Asa direct and proximate result ofthe foregoing, plaintiffr have been damaged
  8
      as recited above and demand and are entitled to the damages recited above, including, but
  9
 10   not limited to,I general and punitive damages (except entities) and attorney's fees.
 11                              FIFTH CAUSE OF ACTION
                                (Violation of 42 U.S.C. §1985(3))
 12                        Against All Individually Named Defendants
 13         56. By virtue ofthe foregoing. Defendants, and two or more ofthem, conspired for
 14   the purpose of:
 15
                   a. depriving plaintiffs of (1) equal protection of the law; and (2) liberty and
 16
            property without due process of law.
 17
            57. Defendants, and each of thetn, did and caused to be done, an act or acts in
 18
      furtherance ohhe object of the conspiracy, whereby plaintiffs were deprived ofthe rights
 19
 20   and privileges as set forth above.
 21         58. As a direct and proximate result of the foregoing, plaintifife are entitled to and
 22   demand damages against defendants, jointly and severally, as recited in the First and
 23   Second Causbs of Action, including, but not limited to, general and punitive damages
 24   (except entities) and attorneys fees.
 25
                                  SIXTH CAUSE OF ACTION
 26                     (California Constitution, Article I, §§ 1, 7, and 13)
                                     Against All Defendants
 27
            59. The conduct ofeach defendant in detaining, searching, arresting, and assaulting
 28

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  1   Plaintiffs and in threatening and in doing or fading to do the other wrongful acts herein
  2   alleged was done for the purpose of interfering with and attenptmg to interfere with
  3   Plaintiffs rights to freedom of expression, to be free from unreasonable invasions oftheir
  4
      privacy and unreasonable search and seizure, and to be accorded due process and equal
  5
      protection under Article 1, §§ 1, 7 and 13 of the California Constitution,
  6
                                  SEVENTH CAUSE OF ACTION
  7                                 (Galifornia Civil Code §52.1)
                                      Against All Defendants
  8                    i;


  9
             60. The conduct of each defendant in detaining, searching, and assaulting Plaintiffs

 10   and in threatening and in doing or failing to do the other wrongful acts herein alleged was
 11   done for the purpose of interfermg with and atten5)ting to interfere with Plaintiffs' rights
 12   under the First, Fourth and Fourteenth Amendments and Plaintiffr' right to freedom of
 13   expression, to be free from unreasonable invasions ofhis privacy and unreasonable search
 14   and seizure and accorded due process and equal protection under Article I, §§ 1, 7, 12,
 15
      and 13 of the Galifornia Constitution, and for that reason violated Plaintiffs' rights under
 16
      Cahfomia Civil Code Section 52.1(b). Plaintiffs are informed and believe and thereon
 17
      allege that the defendants’ wrongful acts were done maliciously and criminally and for the
 18                ■    j

      purpose of inflicting injury on Plaintiffs.
 19                     I,



 20          61.       As the proximate cause of defendants’ and each of their conduct as

 21   hereinbefore alleged^ plaintiffs have been damaged in an amount not presently ascertained,
 22   but subject to proof at trial.
 23          62. Plaintiffs are informed and believe and thereon allege that Defendants’ and
 24   each of their , conduct was malicious, willful, fraudulent and oppressive, done with a
 25
      conscious disregard for plaintiffs’ rights and with the intent to injure plaintiffs, thereby
 26
      justifying the award of exen^lary damages (except for entities) in a sum to be determined
 27
      according to proof
 28

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  1                                EIGHTH CAUSE OF ACTION
                                  (Califoitiia Civil Code Section 51.7)
  2                                     Against AU Defendants
  3          63. Plaintiffs are informed and believe and thereon allege that the conduct of each
  4
      defendant in using force upon and injuring Plaintiffs and in threatening and attempting to
  5
      use force upon and injure Plaintiffs^ and in doing or failing to do the other wrongful acts
  6
      herein alleged was motivated by defendants' invidious racial and/or ethnic and/or other
  7
      impermissible animus toward Plaintiffs, and for that reason violated Plaintiffs’ rights under
  8
      California Civil Code § 51.7. Plaintiffs are informed and beheve and thereon allege that
  9
 10   the defendants’ wrongful acts were done maliciously and criminally and for the purpose
 11   of inflicting injury on Plaintiffs.
 12                                 NINTH CAUSE OF ACTION
                                       (Assault and Battery)
 13                                    Against all Defendants
 14          64. At the date, time and location, defendants, and each of them, as either
 15
      ernployees, supervisors or enployees in the course and scope oftheir duties intentionally
 16
      and maliciously abused plaintiffs by reason of the acts alleged herein above causing
 17
      plaintiffs, without provocation, necessity or lawful justification, to suffer said violations
 18
      of their civil rights.
 19
 20          65. Asa proximate result of the acts of defendants, and each of them, as herein

 21   alleged, plaintiffe were conpelled to expend money all to their damage in an amount
 22   according to proof.
 23          66. As a proximate result of the acts of defendants, and each of them, plaintiffs
 24   were injured in health, strength and activity, sustaining injuries to their bodies and shock
 25
      and injury to their nervous sySteihs and persons; all of which injuries have caused
 26
      plaintiffs to suffer severe pain and mental anguish.
 27
             67. As a fiuther proximate result of the acts of defendants, and each of them.
 28

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  1   plaintiffs were required to and/or did enploy physicians and surgeons for medical
  2   examination, treatment and care ofinjuries, and did incur medical and incidental expenses.
  3   Plaintiffs did incur and will incur further treatment, the exact amount ofwhich is unknown
  4
      at this time.
  5
             68. As a further proximate result of the acts of defendants, plaintiffe were
  6
      prevented from attending to their usual occupations and thereby lost earnings and income.
  7
             69. The acts of defendants, and each of them, were willful, malicious and
  8
  9
      oppressive, in conscious disregard of plaintiffs’ known rights and thereby justify the

 10   awarding of exen5)lary damages (except entities) according to proof
 11                                 TENTH CAUSE OF ACTION
                             (Intentional Infliction of Emotional Distress)
 12                                     Against all Defendants
 13          70. Plaintiffs were entitled to the due care, service and protection of the entities
 14   and their officers and medical staff.
 15
             71. On or about the dates alleged above and thereafter. Defendants caused the
 16
      plaintiffs to be unlawfully detained, seized, beaten and/or otherwise abused without
 17
      reasonable cause or justification.
 18
             72.      In doing the aforementioned acts, defendants conduct was intentional,
 19
 20   outrageous, maliciouSj and done for the specific purpose of causing plaintiffs to suffer

 21   extreme emotional distress, indignity, fear, anxiety, and mental anguish.
 22          73. Asa direct and proximate result of the foregoing, plaintifife have suffered, and
 23   continue to suffer, severe mental, emotional and physical distress and are entitled to and
 24   demands damages against defendants.
 25
                                 ELEVENTH CAUSE OF ACTION
 26                           (Negligent Employment Civil Code §1714)
                             Against Entities and Supervisor Defendants
 27
             74. Defendant entities and supervisor defendants knew or in the exercise of due
 28

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  1   csu-e should have known, that individually named defendants and Does 1 Through 30
  2   inclusive, and each ofthem, had a propensity, character trait, and practice for dishonesty,
  3   deception, abuse of authority, harassment, and violence without justification against
  4
      plaintiffs and other members of the public.
  5
            75. At all times material herein, said Defendant entities and supervisors knew or
  6
      with reasonable care should have known, that the aforedescribed traits of character,
  7
      practices and propensities of defendants and Does 1 through 30 inclusive, and each of
  8
  9
      them, made tjiem unfit to serve as law enforcement officers.

 10         76.    Notwithstanding such knowledge. Defendant entities and supervisors
 11   neghgently and carelessly employed and retained and failed to properly supervise, train
                   !
                   ;[             _       \
 12   and control diefendants and Does 1 through 30 inclusive, and each of them, as enployees
 13   and assigned said defendants to duties which enabled each of them to abuse their
 14   authority, inqluding but not limited to making unlawful detentions and arrests by use of
 15
      excessive force, warrantless arrests, fabricating probable cause and crimes, causing the
 16
      fi'audulent and malicious criminal prosecution of innocent persons while purporting to act
 17                |i



      under the color of law.
 18
            77. As a proximate result of the negligent retention and supervision of defendant
 19
 20   entities and ppervisors and each of them, plaintiffe suffered damages and injuries,

 21   including but not limited to false arrests/detentions, beatings, mahcious prosecutions,
 22   severe mental anguish, emotional distress, severe embarrassment, financial losses, all to
 23   the Plaintiffs’ damage in a sum according to proof
 24                             TWELFTH CAUSE OF ACTION
 25                I,            (Negligence/Civil Code § 1714))
                                     Against All Defendants
 26
            78. Plaintiffs allege that by the actions or omissions set forth above, all defendants
 27
      failed to use and exercise reasonable care as is required by Civil Code § 1714. In
 28

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  1   particular, defendants failed to exercise reasonable care in its conduct in the exercise of
                      l!



  2   their duties.
  3           79. Asa proximate result of the negligence and carelessness of defendants, and
  4
      each of them, plaintiffs Suffered damages as alleged above in a sum according to proof
  5
                                        INJUNCTIVE RELIEF
  6
              80. Plaintiffs are informed and believe and thereon allege that, unless enjoined, as
  7
      requested in the prayer, defendants will continue to engage in the unlawful acts and in the
  8
  9
      policies and practices described above, in violation of the legal and constitutional rights

 10   of the plaintiffs. Plaintiffs face the real and immediate threat of repeated and irreparable
 11   injury and contiiiuing, present adverse effects as a result of the unlawful misconduct,
 12   policies andi^ractices ofthe defendants. Plaintiffs have no adequate and complete remedy
 13   at law.
 14                                            PRAYER
                           '!                            '   '   '   '■




 15
                Wherefore, Plaintiffs pray judgment against defendants and each of them, as
 16
      follows:
 17
         As to each cause of action at to each plaintiff as apphcable:
 18
                1. For general damages according to proof;
                           li
 19                        )■




 20             2. For special damages according to proof;

 21             3. For statutory damages under Cal. Civ. Code §§ 52(b), 52.1(b) and under any
                            i
                           !t1

 22   other applicable statute or theory;
 23             4. For punitive damages against each individual Defendant;
 24             5. For attorney's fees pursuant to 42 U.S.C. §1988, California Civil Code §52.1,
 25
      and under any other apphcable statute or theory;
          '                 I*
 26
                6. For costs of suit;
 27
                7. Declaring, pursuant to 28 U.S.C. §§ 2201-2202 that the acts, poUcies, rules.
 28

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   1   regulations, practices, customs, and usages that the defendants engaged in as set forth
   2   above violate the legal and constitutional rights of the plaintiffs.
   3          8. Permanently enjoining defendants and their agents, enqiloyees, and successors,
   4   and all persons in active concert or participation with defendants, from engaging in the
   5
       unlawful and unconstitutional acts, pohcies, rules, regulations, practices, customs, and
   6
       usages set forth above.
   7
              9. Placing the Maywood-Cudahy Pohce Department under the direct supervision
   8
       and control Of a receiver or special master to be appointed by the Court; directing the
   9
  10   receiver or special master to review all existing written and unwritten pohcies and
  11   procedures of defendants with respect to the acts, pohcies, rules, regulations, practices,
  12   customs, and usages set forth above; directing the receiver or special master to modify,
  13   amend, or revoke, or to confirm and enforce, ejusting pohcies and procedures and to
  14   establish such new or additional written pohcies and procedures as maybe necessary and
  15
       proper; and directing the receiver or special master to inplement and enforce appropriate
  16
       written pohcies and procedures with respect to the fohowing subjects, among others:
  17
                     a. Ensuring compliance with constitutional standards governing the use of
  18
              firearms, the use of force, the conduct of searches, and the use of deadly force.
  19
  20                b. Providing adequate training, certification, and periodic recertification of

  21          ah officers in the lawfiil use of force, including firearms and other deadly force.
  22                 c. Specifying departmentahy approved weaponless control techniques, and
  23          providing for adequate training, certification, and periodic recertification of ah
  24          officers in the use of such techniques.
  25
                     d. Ensuring that members of the pubhc injured by officers receive pron^t
  26
              and appropriate medical care, and that their injuries are catalogued and recorded
  27
              in police reports and by photographs of ah such injuries.
  28

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  1              e. Requiring that all persons in custody be transported to a hospital for
  2        examination and treatment by a medical doctor whenever:
  3
                            i.     the person sustains a head injury, strikes his or her head on a
  4
                                   hard object, or sustains a blow to the head, regardless of how
  5
                                   minor any such injury may appear;
  6
                            ii.    the person is choked or is subjected to any control hold
  7

  8
                                   involving the neck, regardless of whether or not the person is

  9                                rendered unconscious;
 10                         iii.   the person has any injuries that appear to require medical
 11                                attention;
 12                         iv.    the person requests medical treatment, regardless of whether
 13                                or not the person has any apparent injuries.
 14
                     f Prohibiting the use of saps in any circumstances, and prohibiting the use
 15
           of head strikes and strikes to other vital areas of the body by batons or flashlights,
 16              I



           pimches or kicks, except in cases where there is legal justification for the use of
 17
           deadl)| force.
 18              ji


 19              ig. Requiring that searches be conducted in a manner which inflicts the least
                 i;


 20        amount of damage necessary in order to conduct an adequate search; that officers
 21        be required to photograph or videotape the premises before and after each and
 22        every search; that officers return to their original location and condition all items
 23        displaced in any search; and that the Maywood-Cudahy Police Department pay for
 24
           the repair or replacement of any property unnecessarily damaged or destroyed in
 25
           the course of any search.
 26
                     h. Recording m writing each instance in which an officer is involved in the
 27
           use of force in arresting a suspect or in detaining any person, regardless of whether
 28

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  1        an arrest is made.
  2              1. Requiring that any officer who paftieipates in or witnesses any incident
                 i
  3        involving the use of force by an officer shall prepare and submit a departmental
  4        report Icontaining detailed information regarding the incident, including:
  5
                        i       A foil description of the actions of the suspect or meihber of
  6
                 !
                                the public which made the use of force necessary;
  7
                 I      ii.     A foil description of the specific force used or observed by the
  8
  9
                                officer;

 10              I      iii.    A foil description of any injuries or conq)laints of injuries

 11               I             sustained by the suspect or member of the pubhc, including
 12              I              photographs or Videotapes of the suspect of member of the
 13              I              public;
                 i
 14              |      iv.     A foil description ofany medical treatment received by and any
 15
                 |              refosalof such treatmentby the suspect or member of the
 16
                  I             public.
 17
                 |. Estabhshing a system that allows an immediate on-duty supervisor to
 18
           readil)! access a historical record of any officer who has used force in a period of
 19
 20        at least the last 5 years, including the identity of the officer(s) involved in the use
 21
           of forc|;e, the file number(s) of the report(s) in which the use offeree is reported,

 22        and a description ofthe nature of the force used (e.g., "intentional head strike with
 23        baton'"; " accidental head strike with flashhght"); requiring periodic review of such
 24        recordsj| for patterns of unjustified ■ use of force by" officers and• institution of
 25
           disciplinary proceedings Where appropriate; requiring review of such records
 26              Ii                 '
           whenejver a supervisor prepares a departmental performance evaluation of any
 27
           officer; and requiring that performance evaluations include documentation of any
 28

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  1        patterns concerning the unjustified use of force.
  2              k. Providing that, in any situation in which deadly force has been used by
  3        an officer and death or serious injuty has resulted, there shall be an administrative
                 (I


  4        review of the use of force to determine whether it was in compliance with
  5
           departmental poUcy and constitutional standards, and whether departmental pohcy
  6
           Should be modified in view of the circumstances surrounding the use of such force.
  7
                 l.   Requiring that, in departmental investigations of officer-involved
  8
           shootings, other use of deadly force by officers, or conplaints of officer
  9
 10        misconduct:
 11                      i.     all percipient witnesses (including officers) be segregated fi*om
 12                             each other as soon as practicable after the incident;
 13                      ii.    such witnesses not be permitted to discuss the incident with
 14                             any other witness until after all witnesses have been
 15
                                interviewed by departmental investigators;
 16
                         iii.   such witnesses not be informed ofthe contents or substance of
 17
                                the statements of other witnesses until after all witnesses have
 18
                                been interviewed by departmental investigators; and
 19
 20                      iv.    all Witness interviews, including interviews of involved

 21                             officers, be fully and conpletely tape-recorded.
 22              m. Indexing by individual officer and maintaining files of conplaints by
 23        members of the pubhc, Cal. Govt. Code § 910 claims, and lawsuits concerning
 24        officermisconduct; adequately investigating suchcon5)laints, claims, and lawsuits;
 25
           and using such files to monitor the conduct of officers.
 26
                 n. Requiring psychological testing and counseling of officers With a record
 27
           ofusing unreasonable or excessive force, making false arrests, filing false charges.
 28

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                                                ^ m '




  1        engaging in related acts of dishonesty, Or engaging in racially motivated
  2        misconduct.
                 V

  3              0. Maintaining a promotional system which penalizes officers for instances
  4
           ofunjustified use of &earrns or unjustified use of force, violence, sexual innuendo,
  5
           dishonesty, racial or ethnic bias, or other misconduct.
  6
                 p.    Requiring dismissal of officers involved in instances of sexual
  7
           misconduct, and/or repeatedly involved in instances of unjustified use of firearms
  8
           or unjustified use of force, violence, dishonesty, racial or ethnic bias, or other
  9
 10        misconduct.
 11              q. Requiring that, where an investigation discloses any improper use Offorce
 12        by an officer, particularly inq)roper use offeree which causes serious bodily injury
 13        as defined in Cal. Penal Code § 243, that matter should be referred to the District
 14        Attorney's Office for consideration of filing a criminal complaint.
 15
                 f. Requiring that, whenever any officer has been judicially determined to
 16              I
           have engaged m a violation of constitutional or civil rights, whenever a monetary
 17
           settlement has been made or a judgment has been rendered based on the use of
 18              |!
           excessive force by an officer, or whenever any arrest has been made as to which
 19              I


 20        an officer claims to be the victim of a crime ;

 21                      i.    a departmental investigation be conducted, regardless of any
 22                            earher investigation or the findings thereof;
 23                      ii.   The mvestigators review all evidence introduced at trial or
 24                            provided to them by any person, and that they interview all
 25
                               known witnesses including plaintiffs trial experts, and
 26
                               interview plaintiffs counsel in any lawsuit alleging officer
 27
                               misconduct;
 28

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  1                      iii.   a full report be made to the Chief of Pohce and to the receiver
  2                             or special master with recommendations for or against
  3                             disciplinary or criminal sanctions against the officer,
  4
                  s. Directing that the defendants seek tangible ways (for exan^le, through
  5
           disciplinary measures) to establish the principle that racial and ethnic bias will not
  6
           be tolerated within the Maywood-Cudahy Police Department, and that the
  7
           defendants establish an adequate program of cultural awareness training and
  8
  9
           periodic retraining to eliminate racial or ethnic stereotypes for all officers.

 10
                 (. Directing that the defendants seek tangible ways to establish the principle
                 t

 11        that gender bias and discrimination and sexual misconduct will not be tolerated
 12        within the Maywood-Cudahy Pohce Department, and that the defendants establish
 13        an adequate program of gender awareness training and periodic retraining to
 14        eliminate any and ah gender discrimination and sexual misconduct.
 15
           10. For such other and further rehef as the Court may deem proper.
 16
      DATED: May 29, 2007
 17
                                CYNTHIA ANDERSON-BARKER
 18                              ELLEN HAMMILL ELLISON
                                       OLU ORANGE
 19                                   ROBERT MANN
 20                                 DONALD W. COOK
                                     Attorneys at Law
 21
 22
 23                                      Donald W. Cook
                                      Attorneys for Plaintiffs
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  1                            DEMAND FOR JURY TRIAL
  2        Plaintiffs hereby demand a jury trial.
  3   DATED: May 29, 2007
  4                          CYNTHIA ANDERSON-BARKER
  5                           ELLEN HAMMILL ELLISON
                                    OLU ORANGE
  6                                ROBERT MANN
                                 DONALD W. COOK
  7                               Attorneys at Law
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 10                                     Donald W. Cook
                                     Attorneys for Plaintiffs
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